









NUMBER 13-01-124-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

____________________________________________________________________


JOSHUA JACOB McGEE , Appellant,


v.


DEA MARGARITA TERRY McGEE , Appellee.

___________________________________________________________________


On appeal from the 107th District Court

of Willacy County, Texas.

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O P I N I O N


Before Justices Dorsey, Rodriguez, and Castillo

Opinion Per Curiam


Appellant, JOSHUA JACOB McGEE , perfected an appeal from a judgment entered by the 107th District Court of Willacy
County, Texas, in cause number 00-233-CV .  The record was filed on April 19, 2001 .   Appellant's brief was due on
September 20, 2001 . To date, no appellate brief has been received.

When the appellant has failed to file a brief in the time prescribed, the Court may dismiss the appeal for want of
prosecution, unless the appellant reasonably explains the failure and the appellee is not significantly injured by the
appellant's failure to timely file a brief.  Tex. R. App. P. 38.8(a)(1).

On October 26, 2001, notice was given to all parties that this appeal was subject to dismissal pursuant to Tex. R. App. P.
38.8(a)(1).  Appellant was given ten days to explain why the cause should not be dismissed for failure to file a brief.  To
date, no response has been received.

The Court, having examined and fully considered the documents on file, appellant's failure to file a proper appellate brief,
this Court's notice, and appellant's failure to respond, is of the opinion that the appeal should be dismissed for want of
prosecution.  The appeal is hereby DISMISSED FOR WANT OF PROSECUTION.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed

this the 13th day of December, 2001






